Case 2:24-cv-01883-SSV-EJD Document 3-5 Filed 07/29/24 Page 1 of 3




  EXHIBIT D
        Case 2:24-cv-01883-SSV-EJD Document 3-5 Filed 07/29/24 Page 2 of 3




                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


TIFFANIE CURRENT,                                 CIVIL ACTION NO.

       Plaintiff

VERSUS                                            JUDGE:

HOUSING AUTHORITY OF NEW
ORLEANS,

       Defendant                                  MAGISTRATE JUDGE:



                     CERTIFICATE OF COMPLIANCE WITH 28 U.S.C. § 1446(d)

                   I hereby certify that a copy of the foregoing Notice of Removal has been sent via

 email and placed in the United States Mail, with proper and sufficient postage affixed, addressed

 to:

                   Tiffanie Current
                   Through her Attorney of Record:
                   Hannah Adams
                   David Williams
                          Of
                   Southeast Louisiana Legal Services
                   1340 Poydras Street, Suite 600
                   New Orleans, Louisiana 70112

                   I hereby further certify that a copy of the foregoing Notice of Removal has also

 been submitted to the Clerk of the Civil District Court for the Parish of Orleans, for filing in the

 record in state court action entitled: "Tiffanie Current v. Housing Authority of New Orleans,"

 bearing case number 2024-06181 on the docket of the Civil District Court for the Parish of Orleans,

 State of Louisiana.

                                    [signatures on following page]


                                                                                             5526283v.1
      Case 2:24-cv-01883-SSV-EJD Document 3-5 Filed 07/29/24 Page 3 of 3




Date: July 29, 2024                         Respectfully submitted,

                                            /s/ Kathryn M. Knight
                                            Kathryn M. Knight [T.A.], La. Bar No. 28641
                                            Rachel W. Wisdom, La. Bar No. 21167
                                            Stone Pigman Walther Wittmann L.L.C.
                                            909 Poydras Street, Suite 3150
                                            New Orleans, Louisiana 70112
                                            Telephone: (504) 581-3200
                                            Facsimile: (504) 581-3361
                                            Email: kknight@stonepigman.com
                                                    rwisdom@stonepigman.com

                                            Attorneys for Housing Authority of New Orleans

                                    CERTIFICATE

              I hereby certify that a copy of the above and foregoing pleading Certificate of

Compliance with 28 U.S.C. § 1446(d) has been served upon all counsel of record by placing same

in the United States mail, postage prepaid and properly addressed and by e-mail, this 29th day of

July, 2024.

                                                     /s/ Kathryn M. Knight




                                              -2-
                                                                                          5526283v.1
